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         Exhibit 35
6/16/2017                             BPCA throws $7 Million into a money pit, literally | BatteryPark.TV We Inform
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    BPCA throws $7 Million into a money pit, literally
    Posted on August 2, 2014 by Editor

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    July 31, 2014­ By Steven E. Greer

    You have heard of the metaphorical “money pit”. Well, the Battery Park City Authority is throwing money into a
    money pit, literally, at the parks conservancy building on Battery Place.

    The BPCA board met today and voted to approve $3 Million in funding to salvage the poorly designed, poorly
    constructed, nonfunctioning, “geothermal well” in the parks office. This is in addition to the cost of the original
    geothermal well that never worked. The conversation was at times unintelligible, interrupted by loud laughter
    from board member Martha Gallo, but the money spent thus far on this “experimental” hearing system is at least
    $4 Million.

    Designed by Dattner Architects, Brickens Contracting, the $17.5 Million Parks Conservancy building was to be
    powered by geothermal energy, primarily for bragging rights allowing the BPCA to claim that it is “green”. Atelier
    Ten was the “energy consultant”.

    The wells were supposed to tap into underground water and recirculate it to heat and cool the building. However,
    they tapped in salt water, which should have been no surprise since the ocean sits above. Now, the BPCA wants to
    spend more money to try to salvage this doomed project.
http://batterypark.tv/neighborhoods/bpca/bpca­throws­7­million­into­a­money­pit­literally­geothermal­well.html            1/2
6/16/2017                             BPCA throws $7 Million into a money pit, literally | BatteryPark.TV We Inform
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    In 2012, the BPCA hired and engineering firm to “study” the problem. In 2013, a second design firm, D’Onofrio
    Contractors, was awarded $323,000 to come up with a plan to fix the wells. That final plan recommended
    scrapping the geothermal concept altogether. Elite Construction was also awarded $294,000 for the work.

    Now, in 2014, the BPCA will pay Tomco Mechanical Corporation at least $3 Million more to implement the
    salvage plans. When one board member asked, “What is the net financial impact (of this new resolution for more
    funds)?”, a second member replied, “Between three and four million.”.

    Why so many different construction companies are involved was not explained. The BPCA clearly wants to spread
    the contract work around (Each contractor usually becomes a campaign donor to the governor).

    The board then discussed whether or not to sue the original design and construction teams to help offset the new
    expanses, and the board explained that “In­house counsel decided against” suing. No explanation or legal opinion
    was offered.

    Before the vote on the resolution was taken, the entire board broke out in loud laughter for unknown reasons.

    This entry was posted in ­ Downtown oversight, ­ State Government, Battery Park City and BPCA. Bookmark the permalink.




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